      Case 1:20-cr-00429-MKV Document 67 Filed 11/15/21 Page 1 of 1




                                                     USDC SDNY
                                                     DOCUMENT
                                                     ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                         DOC #:
SOUTHERN DISTRICT OF NEW YORK                        DATE FILED: 11/15/21


------------------------------------X
                                    :
UNITED STATES OF AMERICA
                                    :        20 Cr. 429

     -against-                          :    ORDER
                                        :
   Jeffrey Molitor
                                        :
      Defendant
                                    :
------------------------------------X

MARY KAY VYSKOCIL, United States District Judge:

It is hereby ORDERED that the defendant’s bail be modified to

temporarily suspend the condition of location monitoring while

defendant remains hospitalized.



     Dated: New York, New York
            November ___,
                      15 2021


                                       SO ORDERED:




                                       ____________________________
                                       MARY KAY VYSKOCIL
                                       United States District Judge
